 JS44 (Rev. 12/12)       Case: 1:14-cv-00977-SSB-KLL Doc #:COVER
                                                  CIVIL     1-1 Filed:SHEET
                                                                       12/24/14 Page: 1 of 2 PAGEID #: 46
 The  e js 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and serviceofpleadings orother papers as required bylaw, except as
       ivided bvlocal rules of court. This form, approved liv theJudicial Conference of theUnited Stales in September 1974, isrequired for theuse of theClerk of Court for the
    provid
      rposc ot initialing the civil docket sheet.
    purposi                                              (SEE INSTRUi TtQNSON NEXT PAGE OF THISFORM l
                                                                                                                                              TS
 hM $kmw&
        me'rica ex rel. [UNDER SEAL]                                                                                 vmwmm

       (l>) County of Residenceof First l.isted Plaintiff                                                              County of Residence 6f First I-isted Defendant                      Hamilton
                                   IEXCF.PTIN US PLAINTIFF CASES!)                                                                                      (INI'.S. PLAINTIFF C'ASI-S ONI. Y)
                                                                                                                       NOTE:         IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                     I HE TRACT OF LAND INVOLVED


    , (c). Attorneys ihirm Nojiul. Aihlrcwiinil''telephone Number)                                                      Attorneys (IfKnown)
Jennifer VerRamp and Frederick M. Morgan, Jr.
Morgan Verkamp LLC, 35 East Seventh Street,
Suite 600, Cincinnati, Ohio 45202; 513-651-4400

    11. BASIS OF JURISDICTION (Place an "X" InOne BoxOnly)                                               III. CITIZENSHIP OF PRINCIPAL PARTIES (Ptocem ~X~ In One BoxforPlaintiff
                                                                                                                   (For Diversity ('aseaOnly/                                               amiOneIloxfor Defendant)
X 1       US. Government                  G 3    Federal Question                                                                              PTF        DEP                                                    PTF        DEF
             Plaintiff                              (U.S. Government Nota Party)                             Citizen of This Stale             "II         O      \   Incorporated or PrincipalPlace             0     4    04
                                                                                                                                                                        ot* Business In This Slate

O 2       US Government                   3 4    Diversity                                                   Citizen of Another Stale          3    2      fl     2   Incorpoialed and Principal Place           as         as
             Defendant                              (Indicate Citizenship o]Partita In Item 111/                                                                         of Business In Another State


                                                                                                             Citizen or Subject of a                       3      3   Foreign Nation                             a     6    3   6
                                                                                                                 Foreign Country
    IV. NATURE OF SUri>/W,m X'mOneBaxOnlv)
             IIIMIIUI                                                   TORTS                                    FORFEIT!IRK/PI N \I.TY                         RANKRUPTCV                         OTHER STATUTES                   i
n     110 Insurance                        PERSONAL INJURY                     PERSONAL INJl RY              3 625 Drug Related Seizure             3 422 Appeal 28 USC 158                 *    375 False Claims Act
•     120 Marine                      3 310 Airplane                      3 365 Personal Injury' •                 ofPropenv21 USC88I               3   423 Withdrawal                      1    400 State Reapportionment
O     130 Miller Act                  3 315 Airplane Product                       Product Liability         3   690 Other                                  28 USC 157                      "1   410 Antitrust
fl 1-10 Negotiable Instrument               Liability                     3    367 Health Care/                                                                                             1    430Banks and Banking
n 150 Recovery ot Overpayment fj 320 Assault, Libel &                              Pharmaceutical                                                        PROPERTY RIGHTS                    "1 450 Commerce
        & Enforcement <>i Judgment      Slander                                    Personal Injury                                                  • 820Copyrights                         a 460 Depoi talion
ft 151 Medicare Act                3 330Federal Employers1                         Product Liability                                                3 830 Patent                            -i 470 Racketeer Influenced and
a     152 Recoverv of Defaulted                 Liability                 3    368 Asbestos Personal                                                3 840 Trademark                                  Corrupt Organizations
          Student Loans               3 340 Marine                                 Injury Product                                                                                           n    480 Consume! Credit
          (Excludes Veterans)         3   3-15 Marine Product                      Liability                               1 \II()R                     SOCIAL SECURITY                     i    490 Cable Sat IV
3 153 Recovery ot Overpayment                   Liability                     PERSONAL PROPERTY 3                710 Fair I.aboi Si.uul.mU          fl 861 HIA(I395IT)                           850 Securities/Commodities
          ol Veteran's Benefits       3 350 Motor Vehicle                 fl 370 Other Fraud                                                        fl 862 lilack Lung (923)
                                                                                                                     Act                                                                              Exchange
•     Kit) Stockholders'Suits         3 355 Motor Vehicle                 CI 371 Tuith in Lending            H 720 Labor/Management                 fl 863 1)1 WC/DIWW (405(g))             n    890 Other Statutory Actions
O     100 Other Contract                        Product Liability         •    380 Other Personal                    Relations                      3   864 SS1D Title XVI                  n    891 Agricultural Acts
O 105 Contract Product Liability      3 360 Other Personal                         Property Damage           D 740 Railway Labor Act                fl 865 RSI (405(g))                     "i   893 Environmental Matters
•     196 Franchise                             Injury                    fl 385 PropertyDamage              3 751 Family and Medical                                                       3    895 Freedom of Information
                                      3 362 Personal Injury -                    Pioduct Liability                   Leave Act                                                                        Act
                                                Medical Malpractice                                          3 790 Other I.aboi Litigation                                                  1    89o Arbitration
1         REAL PROPERTY                     CIVIL RIGHTS                      PRISONER PETITIONS             "1 791 Employee Retirement                 FEDERAL TAX SITES                   3    899 Administrative Procedure
CI 210 Land Condemnation              3 III) Other Civil Rights                Habeas Corpus:                        Income Security Act            •   870 Taxes (U.S. Plaintiff                    Act/Reviewor Appeal*>(
fl 220 Foreclosure                    3 441 Voting                        Fl 463 Alien Detainee                                                             or Defendant)                            Agency Decision
D 2.10 Rent Lease & Ejectment         3 442 Employment                    3    510 Motions to Vacate                                                O 871 IRS—Third Party                   "I   950 Constitutionality of
O 2-to Forts to Land                  3 443 Housing/                            Sentence                                                                        26 USC 7609                          State Statutes
CI 215 Ton Product Liability                    Accommodations            D 530 General
D 290 All Odier Real Property         3 445 Amcr w/Disabilities-          3 535 Death Penally                        IMMIGRATION
                                                Employment                     Other:                        3 462 NaturalizationApplication
                                      3   446 Amcr w Disabilities - O 540 Mandamus & Other                   3 465 Other Immigration
                                            Oilier                        fl 550 Civil Rights                       Actions
                                      D 448 Education                     D 555 Prison Condition
                                                                          n 560 Civil Detainee -
                                                                                  Conditions of
                                                                                  Confinement

V. ORIGIN (Place an "X" In One Box Only)
X I Original               1 2 Removed from                  fj     3    Remanded from                 "1 -I Reinstated or       fl 5 Transferred from                fl 6 Multidistrict
         Proceeding               State Court                            Appellate Court                     Reopened                   Another District                      Litigation
                                                                                                                                        (spetttVJ
                                           Cite the IIS. CivilStatute underwhichyou are filine (Do not citejurisdictional statutes unless diversity):
                                           31 U.S.C. 3730(b)(2)                                          _
VI. CAUSE Or ACTION
                                           Brief description of cause
                                           Action for damages and civil penalties arising from defendants' violation of the False Claims Act
VII. REQUESTED IN                          O CHECK IF THIS IS A CLASSACTION            DEMANDS                        CHECK YES only if demanded in complaint:
          COMPLAI NT:                             11NDER RULE- 23,I'.R.Cv.P.                                                                                      .11RY DEMAND:                   O Yes          X No
VIII. RELATED CASE(S)
      IF AIVV                                   (SeeInstructions):
                                                                          JUDGE                                                                         DOCKET NUMBER
DA 11                                                                         SKirytfTlRE OF ATTORNEY OF

KIR'OFFICE USE/ONLY
                                                                                                                                      A-A^v-^g:*y&
                                                                                                  17
     RECEIPTS                     AMOUNT                                          APPLYING IIP                                        JUDGE                                   MAG JUDGE
Case: 1:14-cv-00977-SSB-KLL Doc #: 1-1 Filed: 12/24/14 Page: 2 of 2 PAGEID #: 47
